Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 1 of 19

THE UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
1)-U-N-S 611974786

UNITED STATES OF AMERICA )
Delaware tilell 2198046, D-U-N-8 11052714 196 )
) Case no. (:21-cr-0028-19
)
)

) AFFIDAVIT: PROOF OF SERV ICK
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James Delisco Beeks © )
) yhature 1
)

By special invitation & author ized representative

for JAMES BERKS © = -
a ——__ sey,
Affidavit: Proof of Service St

NOTICE: ABSENCE OF SUBJECT MATTER JURISDICTION, NOTICE: CONDITION
PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE, NOTICE: DENIAL OF
AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL REPRESENTATIVE,
REBUTTAL: PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNALS
PROCESS, NOTICE: UNANSWERED BILL OF PARTICULARS, NOTICE:
POTENTIAL LIABILITY, AND AFFIRMATION

NOTICE TO AGENT !S NOTICE TO PRINCIPAL, NOTICE TO PRINCIPAL IS NOTICE
TO AGENT.

SILENCE OR CONTINUED RETENTION OF CLAIMANT’S BIOLOGICAL PROPERTY
AS SURETY WITHOUT VERIFIED EVIDENCE OF HARM, LOSS OR INJURY, PROOF
OF INTENT CONSTITUTES AGREEMENT AND ASSENT TO PROPOSED TERMS

THIS IS A SELF-EXECUTING CONTRACT
FROM:

James Delisco Beeks, a man, sui juris, by special appearance. In the care of 8815
Conroy-Windermere Road. #296 Orlando, Florida [32835]

Claimant,
TO:

Robin M. Meriweather as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001]

=X
Beryl A. Howell as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 2 of 19

333 Constitution Ave NW [20001]

Amit P. Mehta as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001}

Jimmy S. Park as the living man and as agent, employee, or contractor of the
corporation THE FEDERAL BUREAU OF INVESTIGATIONS [FBI] (Dun & Bradstreet #
878865674) 601 4!" Street NW, Washington, DC 20535

Josh Uller as the living man and as agent, employee, or contractor of the corporation
FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B # 031664720, and
UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA CIRCUIT, Dun &
Bradstreet No.611934746, and Federal Defender Services of Wisconsin, Inc. 411 E.
Wisconsin Ave., Milwaukee, WI 53202, Email address: Joshua Uller
<Joshua_Uller@fd.org>:

Jessica Ettinger as the living woman and as agent, employee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B #
031664720, and UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746, and Federal Defender Services of
Wisconsin, Inc. 22 East Mifflin Street, Suite 1000 Madison, WI 53703, Email Address;
Jessica Ettinger <Jessica_Ettinger@fd.org>;

Nicole Cubbage as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746 333 Constitution Ave NW [20001], and The
Law Office of Nicole Cubbage 712 H St. NE, Unit# 570Washington, DC 20002, Email
Address: <cubbagelaw@gmail.com>;

Jeffery Nestler as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun & Bradstreet No.
072526021 and/or THE U.S. ATTORNEY OFFICE, Dun & Bradstreet No. 048158793,
standing in for THE UNITED STATES OF AMERICA Dun & Bradstreet No. 052714196
and corporate Delaware File # 2193946, 601 D Street NW Washington DC [20530],
Email Address: <Jeffrey.Nestler@usdoj.gov>;

Kathryn Rakoczy as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun & Bradstreet No.
072526021 and/or THE U.S. ATTORNEY OFFICE, Dun & Bradstreet No. 048158793,
standing in for THE UNITED STATES OF AMERICA Dun & Bradstreet No. 052714196
and corporate Delaware File # 2193946, 601 D Street NW Washington DC [95076-
5139], Email Address: <Kathryn.Rakoczy@usdoj.gov>;

Respondents.
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 3 of 19

Corporate Ref. Nos. 21-MJ-533, 21-sw-397, 21-sw-296, 1:21-mj-0060, 2 {-cr-18-19,
& 1-21-cr-0028 APM

1. This Affidavit of service verifies the delivery of service of process to the
respondents from the Claimant in the Notice: Default& Imminent Liability.

2. The attached exhibits are proof of service to each respondent on 03/08/23,
03/21/23, and 03/23/23. Please see enclosed attached exhibits.

3. The specified time frame to respond has expired and there has been no
response from the respondents as laid out in the original notice and
contract.

NOTICE TO PRINCIPAL IS NOTICE TO AGENT AND NOTICE TO AGENT IS NOTICE
TO PRINCIPAL

|, James Beeks, Claimant herein, as the living man do herewith affirm and declare
under my unlimited commercial liability that | am competent and of lawful age to state
the matters set forth hereinabove, and state that the above and foregoing statements
are true, correct, complete, not intended to be misleading, that they constitute
admissible evidence, and are in accordance with my best firsthand knowledge,
understanding and belief.

Dated this/(o! day of M bine in the Year Two Thousand Twenty ‘ “Ape

Subscribed and sworn, without prejudice, and with all rights retained, Without
Prejudice UCC 1-308

—_ 4

hh Claimant

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~~ Living Soul. |

 

IN WITNESS WHEREOF, James Delisco Beeks, having first been duly sworn upon his
oath, autographed the above and foregoing document in my presence on

County, Florida on this we day of in the Year Two
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 4 of 19

 

3, SARAH ELIZABETH PARRISH
+! Commission # HH 050839
“Rigiye Expires October 6, 2024

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Notary Public for

My Commission expires
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 5 of 19

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Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 6 of 19

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March 21, 2023, 4:21 am

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Need More Help?

Contact USPS Tracking support for further assistance.

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CG Agent

Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 7 of 19

 

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C. Date of Delivery

 

 

 

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Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 8 of 19

Certificate of Service

In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE: FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-i), NOTICE: ABSENCE OF SUBJECT MATTER

JURISDICTION, NOTICE: CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE, NOTICE
OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL REPRESENTATIVE,

REBUTTAL: PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL’S PROCESS, NOTICE:

UNANSWERED BILL OF PARTICULARS, NOTICE: POTENTIAL LIABILITY, AND AFFIRMATION

was served on the following on 03/08/2023, via email at the email address indicated

below:
To: Nicole Cubbage
Email: cubbagelaw@gmail.com

Respondent

/s/ James-Delisco:BeeksO

Sui Juris, man

Claimant
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 9 of 19

Certificate of Service
In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE OF ABSENCE OF SUBJECT MATTER
JURISDICTION, NOTICE OF CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE,
NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNALS
PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL

LIABILITY, AND AFFIRMATION was served on the following on 03/09/2023 postmark, via

method of service indicated below:
To: Amit P. Mehta
333 Constitution Ave NW Washington D.C. 20001
Respondent

Method of Service:

U.S. Postal Office by first class mail Registered return receipt #RF 234 345 195 US

@ a
Sui Juris, man

Claimant
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 10 of 19

Certificate of Service
In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE OF ABSENCE OF SUBJECT MATTER
JURISDICTION, NOTICE OF CONDITION PRECEDENT, ACCEPTANGE OF OATHS OF OFFICE,

NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL 'S

PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL
LIABILITY, AND AFFIRMATION

was served on the following on 03/08/2023, via email at the email address indicated

below:
To: Jessica Ettinger
Email: Jessica_Ettinger@fd.org

Respondent

/s/ James-Delisco:Beeks©
Sui Juris, man

Claimant

an
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 11 of 19

Certificate of Service

In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

 

AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE OF ABSENCE OF SUBJECT MATTER
JURISDICTION, NOTICE OF CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE,
NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL'S
PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL

LIABILITY, AND AFFIRMATION

was served on the following on 03/08/2023, via email at the email address indicated

below:

To: Josh Uller
Email: Joshua Uller@fd.org

Respondent

Sui Juris, man

Claimant
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 12 of 19

Certificate of Service

In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-1), NOTICE OF ABSENCE OF SUBJECT MATTER
JURISDICTION, NOTICE OF CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE,
NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNALS
PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL
LIABILITY, AND AFFIRMATION

was served on the following on 03/08/2023, via email at the email address indicated

below:
To: Jeffery Nestler
Email: Jeffrey.Nestler@usdoj.gov

Respondent

/s/ James-Delisco:Beeks©
Sui Juris, man

Claimant
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 13 of 19

Certificate of Service

In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE OF ABSENCE OF SUBJECT MATTER
JURISDICTION, NOTICE OF CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE,
NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FAC TO TRIBUNALS
PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL

LIABILITY, AND AFFIRMATION

ee

was served on the following on 03/08/2023, via email at the email address indicated

below:
To: Kathryn Rakoczy
Email: Kathryn.Rakoczy@usdoj.gov

Respondent

/s]_ James-Delisco:Beeks©
Sui Juris, man

Claimant
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 14 of 19

Certificate of Service
In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE OF ABSENCE OF SUBJECT MATTER

JURISDICTION, NOTICE OF CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE,
NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL'S
PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL

LIABILITY, AND AFFIRMATION.
was served on the following on 03/09/2023 postmark, via method of service indicated below:
To: Beryl A. Howell
333 Constitution Ave NW Washington D.C. 20001
Respondent
Method of Service:

U.S. Postal Office by first class mail Registered return receipt #RF 234 345 730 US

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Sui Juris, man

Claimant
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 15 of 19

Certificate of Service
In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE OF ABSENCE OF SUBJECT MATTER

JURISDICTION, NOTICE OF CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE

 

NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL’S

PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL

LIABILITY, AND AFFIRMATION was served on the following on 03/09/2023 postmark, via

method of service indicated below:
To: Robin M. Meriweather
333 Constitution Ave NW Washington D.C. 20001
Respondent
Method of Service:

U.S. Postal Office by first class mail Registered return receipt #RF 234 345 730 US

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Sui Juris, man

Claimant

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Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 16 of 19

Certificate of Service
In accordance with Rules of Practice 150 and 151, 17 C.E.R. §§ 201.150 & .1514, | certify

that a copy of NOTICE OF FAULT & OPPORTUNITY TO CURE, AFFIDAVIT OF NON-REPLY,

AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE OF ABSENCE OF SUBJECT MATTER

JURISDICTION, NOTICE OF CONDITION PREC NT. ACCEPTANCE OF OATHS OF OFFICE

NOTICE OF DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL

REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL’S
PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS, NOTICE OF POTENTIAL
LIABILITY, AND AFFIRMATION was served on the following on 03/09/2023 postmark, via

method of service indicated below:
To: Jimmy S. Park
601 4" Street NW, Washington, DC 20535
Respondent

Method of Service:

U.S. Postal Office by first class mail Registered return receipt #RF 234 345 743 US

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Sui Juris, man

Claimant
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 17 of 19

PROOF OF SERVICE BY EMAIL COMMUNICATION

I, James-Lenry:Smith am a witness to the fact that James-Delisco:Beeks electronically served
NOTICE: ABSENCE OF SUBJECT MATTER JURISDICTION, NOTICE: CONDITION
PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE, NOTICE: DENIAL OF

AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL REPRESENTATIVE,
REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO'TRIBUNAL’S
PROCESS, NOTICE: UNANSWERED BILL OF PARTICULARS, NOTICE: POTENTIAL
LIABILITY, AND AFFIRMATION, NOTICE: FAULT & OPPORTUNITY TO CURE,
AFFIDAVIT: PROOF OF SERVICE, AFFIDAVIT: NON REPLY”, via crail commumeation
as my cniail address jameshsmi hs @icloud.cons was ce'd/bee’'d on (he communication on or
around 03/09/25 to the men and women in the following cniatl addresses:

 

 

 

 

Josh Uller as the living man and as agent, eniployee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B #
(31664720, and UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No. 611934746, Email address:
Joshua Uller SJoshua_Uller@td.org>;

Jessica Ettinger as the living woman and as agent, employee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC, D & B #
031664720, and UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No.61 1984746, 538708, Kmail

Address; Jessica Mtuinger <Jessica_Kttinger@fdorg>;

Nicole Cubbage as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No.61198 £746 Kmail Address:
<cubbagclaw@pgmail.com>;

Jeflery Nestler as the living man and as agent, employce, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun &
Bradstreet No. 072526021 and/or THE U8. AVPORNEY OFFICE, Dun &
Bradstreet No. 048158798, standing in for’ THE UNITED STATES OF
AMERICA Dun & Bradstreet No. 0527 14196 and corporate Delaware File #
2193946, Kmail Address: <Jeflrey.Nesticer@usdoj.gov?;

Kathryn Rakoczy as the living woman and as agent, employee, or contractor of the
corporation UNITED STA'PES DEPARTMEN'T OF JUSTICE, Dun &
Bradstreet No. 072526021 and/or THE U.S. AVPORNICY OFFICE, Dun &
Bradstreet No. 048158793, standing in for ‘THE UNITED STATES OF
AMERICA Dun & Bradstreet No, 0.527 14196 and corporate Delaware File #
21938946, Email Address: <Kathryn.Rakoczy@usdop.gov>;

Respectlully Submitted,

 

“YS /Janese] fenry:Simith (c) Date: 5/15/2028

; Witness Autograph
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 18 of 19

PROOF OF SERVICE BY EMAIL COMMUNICATION

1, Michacl-Charles:School am a witness to the lact that James-Delisco:Beeks electronically

served “NOTICE: ABSENCE OF SUBJECT MATTER JURISDICTION, NOTICE:

 

CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE, NOTICE: DENIAL

OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL

 

REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO
TRIBUNAL’S PROCESS, NOTICE: UNANSWERED BILL OF PARTICULARS, NOTICE:

POTENTIAL LIABILITY, AND AFFIRMATION, NOTICE: FAULT & OPPORTUNITY

 

TO CURE, AFFIDAVIT: PROOF OF SERVICE, AFFIDAVIT: NON REPLY”. via cma!

 

comm icadion as pay madd) address was ce hee dt on the

COTM AMeaton on or around 03/09/23 to the men and wonren i the followire enuul addresses:

Josh Uller as the living man and as agent, employee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B #
03166-4720, and UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUTT, Dun & Bradstreet No. 6119384746, Email address:
Joshua Uller <Joshua_Uller@ld.org>;

Jessica Ettinger as the living woman and as agent, employee, or contractor ol the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B #
031664720, and UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstrect No.611934746, 53703, Eanail
Address; Jessica Ettinger <Jessica_Etunger@Id.org>;

Nicole Cubbage as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradsirect No.61 198-47-16 Email Address:
<cubbagclaw@pmail.conp>;

Jeffery Nesler as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun &
Bradstreet No. 072526021 and/or THE U.S. ATTORNEY OFFICE, Dun &
Bradstreet No. 048158798, standing in for THE UNITED STATES OF

“hey
BS AMERICA Dun & Bradstreet No. 052714196 and corporate Delaware File #
* 2193946, Eniail Address: <Jellrey. Nesticr@usdoj.gov>;
Case 1:21-cr-00028-APM Document 965 Filed 06/23/23 Page 19 of 19

Kathryn Rakoczy as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun &
Bradstreet No. 072526021 and/or THE U.S. ATTORNEY OFFICE, Dun &
Bradstreet No. 0481587983, standing in for THE UNITED STATES OF
AMERICA Dun & Bradstreet No. 052714196 and corporate Delaware File #
2193946, Kmail Address: <Kathryn.Rakoczy@usdoj.gov>;

Respectfully Submitted,
Michael-Charles

Si ath, 05/19/2028

Witness Autograph
